     Case: 1:19-cv-04651 Document #: 28 Filed: 09/13/19 Page 1 of 1 PageID #:199

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                                 Eastern Division

Manikay Master Fund, LP, et al.
                                       Plaintiff,
v.                                                     Case No.: 1:19−cv−04651
                                                       Honorable Matthew F. Kennelly
Akorn, Inc., et al.
                                       Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, September 13, 2019:


        MINUTE entry before the Honorable John Z. Lee:This case has been reassigned,
the status hearing previously set for 9/17/19 is stricken.Mailed notice(ca, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
